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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                              CINCINNATI DIVISION


HUNTER DOSTER, et al.,

        Plaintiffs,
v.                                                  No. 1:22-cv-00084
                                                Hon. Matthew W. McFarland
FRANK KENDALL, et al. ,
        Defendants.



     DEFENDANTS’ OPPOSITION TO CLASS-WIDE PRELIMINARY INJUNCTION
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                                                   INTRODUCTION

            On July 14, 2022, this Court certified a class of certain members 1 of the Air Force and Space

Force who had submitted a religious accommodation request, where a Chaplain recommended a

finding of religious sincerity, and whose requests were denied or still pending. Order Regarding

Pending Motions, ECF No. 72 (“Class Order”), PgID # 4468–69. The Court issued a TRO

“prohibiting Defendants from enforcing the vaccine mandate against any Class Member.” Id. at PgID

# 4469. The Court also ordered Defendants to file a supplemental brief identifying why this Court

should not grant a class-wide preliminary injunction. Id. In addition to the reasons already explained

in previous filings and incorporated into this opposition, 2 the Court should not grant a class-wide

injunction because it would interfere with ongoing legal proceedings and would otherwise be

improper, particularly in light of significant new developments.

            The FDA granted emergency use authorization to the Novavax vaccine, which uses traditional

vaccine technology. FDA, Coronavirus (COVID-19) Update: FDA Authorizes Emergency Use of Novavax

COVID-19 Vaccine, Adjuvanted (July 13, 2022), https://perma.cc/CJ3N-8SAE. “No human fetal-

derived cell lines or tissue, including HEK293 cells, are used in the development, manufacture or

production of the Novavax COVID-19 vaccine candidate.” J. Jenkins, New Novavax Shot Could Appeal

to Pro-Life Christian Skeptics, Christianity Today (Feb. 18, 2022) https://perma.cc/275N-YH8U. Those

class members whose religious objections were based on mRNA technology or the use of fetal-derived

cell lines are no longer substantially burdened by the COVID-19 vaccine requirement because this

option is now available. And since Plaintiffs cannot show that every class member’s religious beliefs

are still substantially burdened, they cannot make the required showing of likelihood of success on

every element of their RFRA and First Amendment claims for each class member, which is necessary

for a class-wide injunction.

1   As discussed below, the definition of the class is not clear whether it includes the Air National Guard.
2   See ECF No. 27; ECF No. 55; ECF No. 58; see also ECF No. 34; ECF No. 35; ECF No. 51.

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        The number of religious exemptions granted continues to increase while medical and

administrative exemptions continue to decrease. In Active Duty Air and Space Force, there are 109

religious exemptions, 286 medical exemptions, and 22 administrative exemptions. In the Air Force

Reserve, 3 there are 22 religious exemptions, 145 medical exemptions, and 83 administrative

exemptions. See Ex. 2. Medical and administrative exemptions will likely continue to trend lower as

medical conditions resolve and those with administrative exemptions retire or otherwise separate,

underscoring that these types of temporary exemptions are materially different from the permanent

religious exemptions that plaintiffs seek in this case.

        Expanding the injunction to cover thousands of individuals will also “severely undermine

military readiness and cause irreparable harm to military operations,” it “would significantly increase

risk to accomplishing the Air Force mission while causing substantial and lasting harm to military

order and discipline.” See Declaration of Lt. Gen. Kevin Schneider, Ex. 1. And an injunction

prohibiting the Air Force “from enforcing the vaccine mandate” would improperly encroach on the

military’s ability to make strategic and operational decisions necessary to discharge its mission. See

Austin v. U.S. Navy SEALs 1-26, 142 S. Ct. 1301, 1302 (2022) (Kavanaugh, J., concurring).

        Courts should exercise extreme caution before granting a preliminary injunction in a large

class-action case such as this one, where class-wide preliminary injunctive relief effectively amounts

to a nationwide injunction, and especially so in a RFRA case, where each service member’s claims

must be resolved “to the person.” EEOC v. R.G. &. G.R. Harris Funeral Homes, Inc., 884 F.3d 560,

590 (6th Cir. 2018). The Supreme Court has explicitly affirmed the importance of percolation in the

lower courts—particularly when the government is involved—saying that “[g]overnment litigation

frequently involves legal questions of substantial public importance,” and a rule allowing one court to

issue a definitive ruling against the government in such cases “would substantially thwart the

3The statistics for the Reserve do not include the Air National Guard. Most pending religious requests are from the
Guard, with many requests awaiting State-level action.

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development of important questions of law by freezing the first final decision rendered on a particular

legal issue. Allowing only one final adjudication would deprive this Court of the benefit it receives

from permitting several courts of appeals to explore a difficult question before this Court grants

certiorari.” See United States v. Mendoza, 464 U.S. 154, 160 (1984).

                                                    ARGUMENT

I.       A Class-wide Injunction Would Interfere with Ongoing Legal Proceedings.

         A class-wide preliminary injunction would interfere with multiple, ongoing cases in other

jurisdictions where courts—including the Supreme Court—have already concluded that class

members are not entitled to a preliminary injunction on the basis of RFRA or the First Amendment.

A class-wide injunction would, for example, have the effect of reversing the Supreme Court’s decision

that class member Lt. Col. Jonathan Dunn (a member of the Air Force Reserve) is not entitled to

preliminary relief. Dunn v. Austin, 142 S. Ct. 1707 (2022). The district court found Dunn was unlikely

to succeed on the merits, explaining that he is “not medically ready to deploy to certain areas of the

world where he might be required to deploy” and that less restrictive means “are not viable options.”

Prelim. Inj. Hrg. & Order, Dunn v. Austin, 2:22-cv-288, ECF No. 22 (E.D. Cal. Feb. 2, 2022). The

Ninth Circuit and the Supreme Court both denied Dunn’s request for an injunction pending appeal.

See Dunn v. Austin, No. 22-15286, 2022 WL 1136043, at *1 (9th Cir. Apr. 1, 2022). Other courts, with

the benefit of individualized records, have reached similar conclusions for other members of this

class. 4 There is no good reason why this Court should overrule these other courts.

         The Air Force is not currently subject to any conflicting orders because courts have thus far

cabined their jurisdiction to the individuals properly before it. Contra Class Order, PgID # 4463–65



4 Roth v. Austin, --- F. Supp. 3d ---, 2022 WL 1568830, at *31 (D. Neb. May 18, 2022) (denying request for a preliminary
injunction, finding that plaintiffs were unlikely to succeed on the merits of “either their RFRA claim or their Free Exercise
of Religion claim”), appeal filed, No. 22-2058 (8th Cir. May 20, 2022); Knick v. Austin, No. 22-1267, 2022 WL 2157066, at
*3, 31 (D.D.C. June 15, 2022) (similar); Creaghan v. Austin, --- F. Supp. 3d ---, 2022 WL 1500544 (D.D.C. May 12, 2022),
appeal filed No. 22-5135 (D.C. Cir. May 20, 2022) (similar).

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(discussing Rule 23(b)(1)(A)). Courts have independently reviewed extensive individual records and

decided based on those individualized facts whether specific plaintiffs were entitled to preliminary

injunctions, with most courts finding plaintiffs did not demonstrate a substantial likelihood of success.

Because the purpose of certifying a class under Rule 23(b)(1)(A) is to prevent “inconsistent or varying

adjudications with respect to individual class members,” this Court’s class-certification ruling is

incompatible with the individualized, case-specific assessments that RFRA demands. This Court

should not compound the error in its class-certification ruling by issuing a class-wide injunction that

would subject the Air Force to conflicting judicial rulings and effectively nullify the decisions of other

courts, including the Supreme Court.

II.      Plaintiffs Fail to Meet Evidentiary Burden on Threshold RFRA Elements.

         Even assuming that every single class member has a sincerely held religious belief, Plaintiffs

still must show that the vaccination requirement substantially burdens each and every individual class

member’s religious beliefs. “If the plaintiff cannot prove” that the government action substantially

burdens the plaintiff’s exercise of religion, the “RFRA claim fails.” Navajo Nation v. U.S. Forest Serv.,

535 F.3d 1058, 1068 (9th Cir. 2008). Particularly given the availability of a new vaccine not developed

from fetal cell lines, Plaintiffs cannot make out a prima facie RFRA claim for each class member.

         Religious beliefs of class members are varied. For example, many have religious-based

objections based on abortion and the “use [of] stem cells derived from aborted humans in both

development and production” of certain vaccines. ECF No. 11-16, PgID # 498. 5 Some class

members object to mRNA vaccines, for example, believing that use of those types of vaccines “asserts

that God did not understand how to make an immune system.” ECF No. 11-9, PgID # 430. Others

object to COVID-19 vaccines because they believe that their bodies are “the temples of God” and


5 The current record demonstrates that Plaintiffs are unlikely to show that the fetal-derived HEK-293 cell lines used in
some testing of Pfizer/BioNTech and Moderna vaccines came from voluntary abortions as opposed to spontaneous
abortion (miscarriage). See ECF No. 45, Tr. 26:22–27:5, PgID # 3089–90.

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vaccination “would constitute a desecration of the temple.” ECF No. 11-10, PgID # 438. Still others

base their religious objections on “a personal connection with God in which He instructed [them] to

deny vaccination against the COVID-19 virus.” ECF No. 11-15, PgID # 494. Separate analyses are

required for whether each belief is substantially burdened by the vaccination requirement. Class-wide

relief is improper in these circumstances and certainly not supported by such a sparse record.

         Even among those with similar religious objections, differences persist among the class

members about whether beliefs are substantially burdened. There is no dispute, for example, that

class members who have objected to vaccination based on the use of fetal-derived cell lines do not

share a uniform view of Novavax. Some class members maintain that Novavax is inconsistent with

their faith. 6 While others, like class member Adam Theriault, have concluded that receiving the

Novavax vaccine would be consistent with their faith. ECF No. 30-2 ¶ 3, PgID #2147–48. Plaintiff

Joe Dills likewise testified that he “would take [Novavax] if it was available in the United States,” and

now it is. ECF No. 48, Hearing Tr., 75:9–14, PgID # 3280. Since the COVID-19 vaccine requirement

does not substantially burden Theriault’s or Dills’ religious exercise now that Novavax is approved in

the United States, there is no basis to grant a preliminary injunction that covers them or similar class

members. 7

         Moreover, religious beliefs of service members who object to vaccination based on mRNA

technology are not substantially burdened by the Novavax and Johnson & Johnson vaccines, which



6 But no Plaintiff whose religious objection is based on the use of fetal-derived cell lines has carried their factual burden
to show that taking Novavax would substantially burden their religious exercise. Novavax has confirmed that “[n]o human
fetal-derived cell lines or tissue, including HEK293 cells, are used in the development, manufacture or production of the
Novavax COVID-19 vaccine candidate.” Christianity Today, https://perma.cc/275N-YH8U. Plaintiffs ask this Court to
ignore the company’s statement, and instead rely on a website, Children of God for Life, which claims that a paper
published in Science analyzing the Novavax vaccine candidate references HEK-293 cells. See ECF No. 30-19 ¶3 & n.1.
But those objections do not withstand scrutiny; Novavax explained that “[t]he reference in the Science paper to HEK293
cells was based on well-established scientific knowledge, did not include our vaccine protein, and is completely independent
of Novavax COVID-19 vaccine development.” Christianity Today, https://perma.cc/275N-YH8U. Plaintiffs who object
to the use of fetal-derived cell lines cannot show that Novavax would substantially burden their religion on this record.
7 Two other plaintiffs decided to receive two doses of the COVID-19 vaccine Covaxin, bringing them in full compliance

with the vaccine mandate. ECF No. 68. Before they came into compliance, they too would have been in the class.

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do not use mRNA technology. Novavax uses a technology that has “been used for more than 30

years in the United States” in vaccines for the flu and whooping cough. CDC, CDC Recommends

Novavax’s COVID-19 Vaccine for Adults (July 19, 2022), https://perma.cc/H6ZQ-3ZBH.

        Plaintiffs’ failure to carry their threshold obligation to show substantial burden for every class

member is enough to deny a class-wide injunction. See Navajo Nation, 535 F.3d at 1068.

III.    Plaintiffs Cannot Demonstrate the Availability of Less Restrictive Means for Every
        Class Member.

        Even if they had sufficient evidence to show every class member was likely to succeed on the

threshold RFRA elements, Plaintiffs still would not be entitled to an injunction because the Air Force

indisputably has a compelling interest. “It would be a waste of time and wrong to state that

‘[s]temming the spread of COVID-19’ isn’t a compelling interest—the Supreme Court has already

decided it is.” Air Force Off. v. Austin, ---F. Supp. 3d---, 2022 WL 468799, at *9 (M.D. Ga. Feb. 15,

2022) (citing Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020)).

        Plaintiffs have not shown that less restrictive means are available to every single member of

the class, and there is no common question that could resolve this issue for every class member

simultaneously. RFRA and First Amendment questions of less restrictive means must be decided “to

the person.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 726 (2014). To start, for pending religious

exemption requests, it is premature for this Court to step in and decide that there are less restrictive

means, particularly when the Air Force has not made a determination and those decisions impact

military readiness. See e.g., ECF No. 51, PgID # 3375–79. For others, the Air Force has already

determined that no less restrictive means are available, which is entitled to significant deference. See,

e.g., ECF No. 55, PgID #3882–84 (discussing how Air Force personnel, including Chaplains,

unanimously determined that there was “no comparable less restrictive means” for two class members

(citation omitted)). And even if these individual decisions were subject to further review, they still do

not justify a class-wide injunction. The fact other courts have found that at least 39 class members

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have not demonstrated a substantial likelihood of success (including whether less restrictive means were

available) clearly demonstrates Plaintiffs have already failed to carry their burden on a class-wide basis.

        Plaintiffs argue that the Air Force’s granting of medical and administrative exemptions show

that less restrictive means are available for everyone. But the Government has repeatedly debunked

this meritless argument. Permanent religious exemptions are materially different than temporary

medical and administrative exemptions. Medical exemptions are short-term and protect service

members’ health, which furthers the compelling interest in military readiness. “‘[G]iving a vaccine to

a service member who has medical contraindications to the vaccine would harm the member’s

health, detracting from the military’s interests in ensuring readiness and the health and safety of

members.’” Knick, 2022 WL 2157066, at *4 (citation omitted). And anyone whose medical exemption

lasts longer than 12 months is subject to a retention review, where the Air Force may decide not to

retain that individual. See DoDI 1332.45 ¶ 1.2(b), https://perma.cc/9FNU-ZR89. Administrative

exemptions are also temporary and allow a service member to complete a limited term of service

before retiring or separating. Those who receive medical and administrative exemptions remain

subject to restrictions because of their unvaccinated status, including limits on travel and deployment.

        In contrast, Plaintiffs’ religious accommodation requests seek a permanent exemption from

vaccination (although they argue it’s only “temporary,” none identify a foreseeable end-date to their

requested exemption). Plaintiffs also argue that they should be permitted to serve without any

restrictions that account for their unvaccinated status, such as limits on travel, training, deployment,

and other restrictions that apply to all unvaccinated service members. In short, they seek nothing like

the kind of treatment granted to persons with medical or administrative exemptions, but entirely

distinct, permanent, preferential treatment that undermines the military’s efforts to protect the health

of the force. See Roth, 2022 WL 1568830, at *20.

        Finally, the Air Force has treated requests for all types of exemptions similarly, carefully


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analyzing the individual factors applicable to each request. The Air Force has granted 135 religious

exemption requests, with 109 of those for Active Duty Air Force—compare that number with 286

current Active Duty medical exemptions and just 22 current Active Duty administrative exemptions.

Ex. 2. Given that there are nearly five times the number of religious exemptions as administrative

exemptions in Active Duty Air Force, there is no factual basis to conclude that the Air Force has an

“overt policy to deny virtually all religious accommodation requests.” Class Order, PgID # 4459.

        This Court should not look to the reasoning of the decision in U.S. Navy Seals 1–26 v. Austin,

because those facts were strikingly different—at the time of that order, “[e]xactly zero requests ha[d]

been granted” by the Navy. --- F. Supp. 3d. ----, 2022 WL 1025144, at *5 (N.D. Tex. Mar. 28, 2022),

appeal filed, U.S. Navy SEALs 1-26 v. Biden, No. 22-10534 (5th Cir. May 31, 2022). And, of course, that

reasoning was in support of an injunction that was stayed in significant part by the Supreme Court,

which recognized the military’s discretion to consider vaccination status in making deployment,

assignment, and other operational decisions. Navy SEALs 1-26, 142 S. Ct. at 1301. As one district

court observed, in granting this stay, the Supreme Court implicitly held “the Government is likely to

succeed on the merits” of RFRA claims similar to those brought by plaintiffs here, which constitutes

“the most persuasive authority on which a District Court may rely.” Navy SEAL 1 v. Austin, ---F.

Supp. 3d---, 2022 WL 1294486, at *4 (D.D.C. Apr. 29, 2022), appeal filed, No. 22-5114 (D.C. Cir. May

5, 2022). Thus, the district court’s decision in Navy SEALs 1-26 (N.D. Tex.) should not be considered

on any merits issue, let alone whether Plaintiffs have satisfied their burden to show that less restrictive

means are available for every single member of the Air Force class.

IV.     No Other Common Questions Show Likelihood of Success on the Merits.

        Plaintiffs have not provided any other common proof that shows that the entire class is

entitled to a preliminary injunction. Plaintiffs have not provided any evidence, let alone “[s]ignificant

proof,” that the Air Force “operated under a general policy of discrimination.” Wal-Mart Stores, Inc. v.


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Dukes, 564 U.S. 338, 353 (2011) (citation omitted); see In re Navy Chaplaincy, 306 F.R.D. 33, 48 (D.D.C.

2014) (“In this case, just as in Walmart, Plaintiffs do not allege that the Navy ever had an express

policy” of discrimination). At best, Plaintiffs provide “statistical” differences between religious and

medical/administrative exemptions, which are negligible when broken out by active duty/reserve.

The Supreme Court has found this type of evidence is “insufficient to establish that respondents’

theory can be proved on a classwide basis.” Wal-Mart, 564 U.S. at 356. Regardless, none of that is

relevant to the elements that need to be proven under RFRA or shows that any particular religious

accommodation request—much less all of them—were incorrectly decided.

V.      Equities and Public Interest Strongly Disfavor a Class-wide Injunction.

        A preliminary injunction would not be equitable or in the public interest for all the reasons

Defendants previously explained, but those reasons are amplified given the immense scope of this

proposed order. “[E]ven accepting that RFRA applies in this particular military context, RFRA does

not justify judicial intrusion into military affairs” and there is “no basis in this case for employing the

judicial power in a manner that military commanders believe would impair the military of the United

States as it defends the American people.” Navy SEALs 1-26, 142 S. Ct. at 1302 (Kavanaugh, J.,

concurring). As three-star general, Lt. Gen. Kevin Schneider, Director of Staff for the Headquarters

of the Air Force, explains: “In my opinion, if a large number of Department of Air Force Service

members were to be exempt from the COVID-19 vaccine mandate, it would pose a significant and

unprecedented risk to military readiness and our ability to defend the nation.” Ex. 1, ¶ 6. An

injunction at this scale would amplify harm “across the Force, creating significant and irreparable harm

to good order and discipline, force health protection, and military readiness; seriously endangering the

Department of the Air Force’s ability to decisively execute its mission.” Id. ¶ 8.

VI.     Scope of Any Potential Order.

        If the Court is still inclined to enter a class-wide preliminary injunction, at the very least it


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should clarify its terms. To start, the class definition is unclear about whether it includes the Air

National Guard. 8 The short phrase in the TRO—“prohibit[s] Defendants from enforcing the vaccine

mandate”—is vague and ambiguous in several respects. That phrase does not specify whether it

prohibits the Air Force from making deployment, assignment, and other operational decisions—

which, of course, would conflict with the Supreme Court’s stay in Navy Seals 1–26. The order is also

unclear whether it prohibits Defendants from initiating separation procedures, including discharge

boards, or just the enforcement of final discharge orders. It also does not specify whether it requires

the military halt ongoing court martial or other proceedings under the Uniform Code of Military

Justice if they involve a class member, which would conflict with the Supreme Court’s decision in

Schlesinger v. Councilman, 420 U.S. 738, 758 (1975) (“when a serviceman . . . can show no harm other

than that attendant to resolution of his case in the military court system, the federal district courts

must refrain from intervention, by way of injunction or otherwise”). And for members of the Reserve,

that phrase does not specify whether it requires the Air Force to reinstate individuals who previously

been placed in No Pay/No Points status, which would directly conflict with the ruling in Poffenbarger

v. Kendall, --- F. Supp. 3d ----, 2022 WL 594810, at *20 (S.D. Ohio Feb. 28, 2022), or whether it requires

the Air Force to transfer class members out of the Individual Ready Reserve. The Order also does

not specify how the Air Force should treat individuals who fall within the definition of the class, but

still want to be separated. Without answering each of these questions, any preliminary injunction

would run afoul of Rule 65(d) of the Federal Rules of Civil Procedure. 9




8 There are no class representatives who are in the Air National Guard.
9 The entry of any class-wide injunction would be clear error and Defendants reserve the right to appeal, but if the Court
is inclined to enter a class-wide PI it should limit its order to enjoining only the enforcement of final adverse actions, like
separation or transfer orders.


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Dated: July 21, 2022                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 21, 2022, I electronically filed the foregoing paper with the Clerk

of Court using this Court’s CM/ECF system, which will notify all counsel of record of such filing.



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